                          United States District Court
                        Western District of North Carolina
                               Asheville Division

          Lissa Ann Franks                          JUDGMENT IN CASE

             Plaintiff(s),                            1:20-cv-00299-KDB

                 vs.

           Kilolo Kijakazi,
    Acting Commissioner of Social
               Security

            Defendant(s).



DECISION BY COURT. This action having come before the Court by Motion and a decision
having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s November 12, 2021 Order.




                                               November 12, 2021




        Case 1:20-cv-00299-KDB Document 23 Filed 11/12/21 Page 1 of 2
Case 1:20-cv-00299-KDB Document 23 Filed 11/12/21 Page 2 of 2
